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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


NETLIST, INC.                                    )
                                                 )
              Plaintiff,                         )
                                                 )
      v.                                         )
                                                 )
MICRON TECHNOLOGY, INC.,                         )
MICRON SEMICONDUCTOR                             )    JURY TRIAL DEMANDED
PRODUCTS, INC., MICRON                           )
TECHNOLOGY TEXAS LLC,                            )
                                                 )
              Defendants.                        )
                                                 )
                                                 )
                                                 )
                                                 )
                                                 )
                                          COMPLAINT


       1.      Plaintiff Netlist, Inc. (“Netlist”), by its undersigned counsel, for its Complaint

against defendants Micron Technology Inc. (“Micron Technology”), Micron Semiconductor

Products, Inc. (“Micron Semiconductor”), and Micron Technology Texas, LLC (“Micron Texas”)

(collectively, “Micron” or “Defendants”), states as follows, with knowledge as to its own acts, and

on information and belief as to the acts of others:

       2.      This action involves six of Netlist’s patents: U.S. Patent Nos. 10,860,506 (the “’506

Patent,” Ex. 1), 10,949,339 (the “’339 Patent,” Ex. 2), 11,016,918 (the “’918 Patent,” Ex. 3),

11,232,054 (the “’054 Patent,” Ex. 4), 8,787,060 (the “’060 Patent,” Ex. 5), and 9,318,160 (the

“’160 Patent,” Ex. 6) (collectively, the “Patents-in-Suit”).
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I.       THE PARTIES

         3.    Plaintiff Netlist is a corporation organized and existing under the laws of the State

of Delaware, having a principal place of business at 111 Academy Drive, Suite 100, Irvine, CA

92617.

         4.    On information and belief, Micron makes dynamic random-access memory

(“DRAM”), NAND Flash, and NOR Flash memory, and other memory products in semiconductor

fabrication plants in the United States and other countries throughout the world. On information

and belief, Micron sells its products to customers, including customers in this District, in the

computer, networking and storage, consumer electronics, solid-state drives and mobile

telecommunications markets.

         5.    On information and belief, Micron Technology is a corporation organized and

existing under the laws of Delaware. On information and belief, Micron Technology has a regular

and established place of business at 805 Central Expressway South, Suite 100, Allen, Texas 75013.

On information and belief, Micron Technology is registered to do business in the State of Texas,

and can be served through its registered agent, The Corporation Service Company, 211 E. 7th

Street, Suite 620, Austin, Texas 78701-3218.

         6.    On information and belief, Micron Semiconductor is a corporation organized and

existing under the laws of Idaho. On information and belief, Micron Semiconductor has a regular

and established place of business at 805 Central Expressway South, Suite 100, Allen, Texas 75013.

On information and belief, Micron Semiconductor is registered with the Texas Secretary of State

to do business in Texas. On information and belief, Micron Semiconductor can be served through

its registered agent, The Corporation Service Company, 211 E. 7th Street, Suite 620, Austin, Texas

78701-3218.




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       7.      On information and belief, Micron Texas is a corporation organized and existing

under the laws of Idaho. On information and belief, Micron Texas has a regular and established

place of business at 805 Central Expressway South, Suite 100, Allen, Texas 75013.               On

information and belief, Micron Texas also has a regular and established place of business at 950

West Bethany Drive, Suite 120, Allen, Texas 75013-3837. On information and belief, Micron

Texas is registered with the Texas Secretary of State to do business in Texas. On information and

belief, Micron Texas can be served through its registered agent, The Corporation Service

Company, 211 E. 7th Street, Suite 620, Austin, Texas, 78701-3218.

       8.      On information and belief, Micron Semiconductor and Micron Texas are wholly

owned subsidiaries of Micron Technology. On information and belief, Micron Technology does

not separately report revenue from Micron Semiconductor or Micron Texas in its filings to the

Securities Exchange Commission, but rather reports combined revenue from its various products

and subsidiaries.

       9.      On information and belief, Defendants have semiconductor fabrication plants in the

United States and other countries throughout the world and manufacture memory products such as

DRAM, NAND Flash, and NOR Flash at those plants. On information and belief, Defendants also

use, sell, and offer for sale in the United States, import into the United States and/or export from

the United States memory products, including DDR4 load reduced dual in-line memory modules

(“LRDIMMs”), DDR5 dual in-line memory modules (“DIMMs”), HBM2E memory components,

and other high bandwidth memory products and components, or unfinished versions thereof

(“Accused Instrumentalities”). On information and belief, Defendants have at least used, sold, or

offered to sell products and services, including the Accused Instrumentalities, in this judicial

district, e.g., through sales and distribution channels managed by Micron Texas.




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       10.     On information and belief, Defendants place, have placed, and contributed to

placing Accused Instrumentalities into the stream of commerce via an established distribution

channel knowing or understanding that such products would be sold and used in the United States,

including in this judicial district. On information and belief, Defendants have also derived

substantial revenues from infringing acts in this judicial district, including from the sale and use

of the Accused Instrumentalities.

II.    JURISDICTION AND VENUE

       11.     The Court has subject matter jurisdiction under 28 U.S.C. § 1338, in that this action

arises under federal statute, the patent laws of the United States (35 U.S.C. §§ 1, et seq.).

       12.     Each Defendant is subject to this Court’s personal jurisdiction consistent with the

principles of due process and/or the Texas Long Arm Statute.

       13.     Personal jurisdiction exists generally over the Defendants because each Defendant

has sufficient minimum contacts and/or has engaged in continuous and systematic activities in the

forum as a result of business conducted within the State of Texas and the Eastern District of Texas.

Personal jurisdiction also exists over each Defendant because each, directly or through

subsidiaries, makes, uses, sells, offers for sale, imports, advertises, makes available, and/or

markets products within the State of Texas and the Eastern District of Texas that infringe one or

more claims of the Patents-in-Suit. Further, on information and belief, Defendants have placed or

contributed to placing infringing products into the stream of commerce knowing or understanding

that such products would be sold and used in the United States, including in this District.

       14.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and (c) and/or

1400(b) because Defendants (1) have committed and continue to commit acts of patent

infringement in this District by, among other things, directly and/or indirectly making, using,

selling, offering to sell, or importing products that infringe one or more claims of the Patents-in-



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Suit, and (2) have done and continue to do business in this District by maintaining regular and

established places of business, including at least at 805 Central Expressway South, Suite 100,

Allen, Texas 75013.

III.   FACTUAL ALLEGATIONS

                                          Background

       15.     Since its founding in 2000, Netlist has been a leading innovator in high-

performance memory module technologies. Netlist designs and manufactures a wide variety of

high-performance products for the cloud computing, virtualization and high-performance

computing markets. Netlist’s technology enables users to derive useful information from vast

amounts of data in a shorter period of time. These capabilities will become increasingly valuable

as the volume of data continues to dramatically increase.

       16.     Netlist has a long history of being the first to market with disruptive new products

such as the first LRDIMM, HyperCloud®, based on Netlist’s distributed buffer architecture later

adopted by the industry for DDR4 LRDIMM. Netlist was also the first to bring NAND flash to

the memory channel with its NVvault® NVDIMM. These innovative products built on Netlist’s

early pioneering work in areas such as embedding passives into printed circuit boards to free up

board real estate, doubling densities via quad-rank double data rate (“DDR”) technology, and other

off-chip technology advances that result in improved performance and lower costs compared to

conventional memory.

       17.     In many commercial products, a memory module is a printed circuit board that

contains, among other components, a plurality of individual memory devices (such as DRAMs).

The memory devices are typically arranged in “ranks,” which are accessible by a processor or

memory controller of the host system. A memory module is typically installed into a memory slot

on a computer motherboard.



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       18.     Memory modules are designed for, among other things, use in servers such as those

supporting cloud-based computing and other data-intensive applications (e.g. scaled data

manipulation and aggregation, on-demand tracking, AI-based image analysis, weather patterning,

etc.). The structure, function, and operation of memory modules is defined, specified, and

standardized by the JEDEC Solid State Technology Association (“JEDEC”), the standard-setting

body for the microelectronics industry. Memory modules are typically characterized by, among

other things, the generation of DRAM on the module (e.g., DDR5, DDR4, DDR3) and the type of

module (e.g., RDIMM, LRDIMM).

       19.     High bandwidth memory (“HBM”) is a type of high-speed computer memory

technology that relies in part on vertically stacked memory dies. In end products incorporating

HBMs, a memory host such as a CPU and/or GPU is interconnected to a logic/driver/buffer die at

the bottom of each memory die stack. The combined system of CPU/GPU and the memory stack

is then mounted on a substrate for use, as illustrated below. This format substantially shortens the

signal length between the host and the memory, which enables shorter communication time,

smaller format, higher performance and lower power consumption.




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Ex. 9 (Micron Technical Brief “Integrating and Operating HBM2E Memory”) at 3 (annotations in

original); see also, e.g., Ex. 11 (Micron white paper titled “The Demand for High-Performance

Memory”) at 2:




                                  The Asserted Netlist Patents

The ’506 Patent

       20.     The ’506 Patent is entitled “Memory Module With Timing-Controlled Data

Buffering.” Netlist owns the ’506 Patent by assignment from the listed inventors Hyun Lee and

Jayesh R. Bhakta. The ’506 Patent was filed as Application No. 16/391,151 on April 22, 2019,

issued as a patent on December 8, 2020, and claims priority to, among others, a utility application

filed on July 27, 2013 (No. 13/952,599) and a provisional application filed on July 27, 2012 (No.

61/676,883).

       21.     Micron has had actual knowledge of the ’506 Patent no later than April 28, 2021

via Exhibit A to Netlist’s April 28, 2021 letter to Micron, and as of the filing of this Complaint.

       22.     As described in the ’506 Patent, in conventional memory modules, the “distribution

of control signals and a control clock signal in the memory module is subject to strict constraints”

to ensure that memory devices on the memory module can be properly accessed. Ex. 1 at 2:18-

20. For example, in some conventional memory modules, “control wires are routed so there is an

equal length to each memory component, in order to eliminate variation of the timing of the control


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signals and the control clock signal between different memory devices in the memory modules.”

Id. at 2:20-24. But as noted in the ’506 Patent, “[t]he balancing of the length of the wires to each

memory devices compromises system performance, limits the number of memory devices, and

complicates their connections.” Id. at 2:24-27. In yet other conventional memory systems, the

memory controller includes mechanisms such as read or write leveling for compensating for

unbalanced wire lengths on the memory module. Id. at 2:28-32. However, with increasing

memory operating speed and memory density “such leveling mechanisms are also insufficient to

ensure proper timing of the control and/or data signals received and/or transmitted by the memory

modules.” Id. at 2:32-36.

       23.     The ’506 Patent discloses a memory module operable in a memory system with a

memory controller that includes memory devices, a module control circuit, and a plurality of buffer

circuits coupled between respective sets of data signal lines in a data bus and respective sets of the

memory devices. As summarized in the Abstract, “[e]ach respective buffer circuit is configured

to receive the module control signals and the module clock signal, and to buffer a respective set of

data signals in response to the module control signals and the module clock signal. Each respective

buffer circuit includes a delay circuit configured to delay the respective set of data signals by an

amount determined based on at least one of the module control signals.” Id., Abstract.




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       24.     The buffer circuits (118, highlighted below) are associated with respective groups

of memory devices and are distributed across the memory module at positions corresponding to

the respective groups of memory devices as illustrated in the exemplary configuration of Figure

2A.




       25.     However, because the buffer circuits—or “isolation devices”—are distributed

across the memory module, at high speeds of operation, the same set of module control signals

sent by the module control circuit in the module may reach different buffer circuits at different

times across one cycle of the system clock. Id. at 9:51-62 (“Because the isolation devices 118 are

distributed across the memory module 110, during high speed operations, it may take more than

one clock cycle time of the system clock MCK for the module control signals to travel along the

module control signals lines 230 from the module control device 116 to the farthest positioned

isolation devices 118, such as isolation device ID-1 and isolation device ID-(n−1) in the exemplary

configuration shown in FIG. 2.”). The ’506 Patent discloses an embodiment wherein “each

isolation devices includes signal alignment circuits that determine, during a write operation, a time


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 interval between a time when one or more module control signals are received from the module

 control circuit 116 and a time when a write strobe or write data signal is received from the MCH

 101. This time interval is used during a subsequent read operation to time the transmission of read

 data to the MCH 101, such that the read data follows a read command by a read latency value

 associated with the system 100.” Id. at 10:11-21.

 The ’339 Patent

        26.     The ’339 Patent is entitled “Memory Module With Controlled Byte-Wise Buffers.”

 Netlist owns the ’339 Patent by assignment from the listed inventors Hyun Lee and Jayesh R.

 Bhakta. The ’339 Patent was filed as Application No. 15/470,856 on March 27, 2017, issued as a

 patent on March 16, 2021, and claims priority to U.S. Patent Application No. 12/504,131 filed on

 July 16, 2009, U.S. Patent Application No. 12/761,179 filed on April 15, 2010 and U.S.

 Application No. 13/970,606 filed on August 20, 2013.

        27.     Micron has had actual knowledge of the ’339 Patent no later than April 28, 2021

 via Exhibit A to Netlist’s April 28, 2021 letter to Micron, and as of the filing of this Complaint.

        28.     As described in the ’339 Patent, in optimizing performance of memory subsystems

 (e.g. memory modules) “consideration is always given to memory density, power dissipation (or

 thermal dissipation, speed, and cost.” Ex. 2 at 2:5-7.       The ’339 Patent further explains that

 “[g]enerally, these attributes are not orthogonal to each other, meaning that optimizing one

 attribute may detrimentally affect another attribute. For example, increasing memory density

 typically causes higher power dissipation, slower operational speed, and higher costs.” Id. at 2:7-

 12. The ’339 Patent is generally directed to a memory module optimized to reduce the load

 experienced by a system memory controller via the use of configurable data transmission circuits.

        29.     The ’339 Patent discloses a memory module configured to communicate with a

 memory controller that includes DDR DRAM devices arranged in multiple ranks each of the same



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 width as the memory module, and a module controller configured to receive and register input

 control signals for a read or write operation from the memory controller and to output registered

 address and control signals. As summarized in the Abstract, “[t]he registered address and control

 signals selects one of the multiple ranks to perform the read or write operation. The module

 controller further outputs a set of module control signals in response to the input address and

 control signals. The memory module further comprises a plurality of byte-wise buffers controlled

 by the set of module control signals to actively drive respective byte-wise sections of each data

 signal associated with the read or write operation between the memory controller and the selected

 rank.” Id., Abstract.

        30.     Figure 3A illustrates an example of a memory subsystem consistent with

 embodiments disclosed in the ’339 Patent.




        31.     As shown above, Figure 3A depicts a memory subsystem 400 including memory

 modules 402 comprising memory devices 412, data transmission circuits 416 (highlighted above),

 and module control circuits 430. The data transmission circuits 416 operate to reduce the load


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 experienced by the memory controller 420 to improve performance of a read or write operation.

 Id. at 17:14-44 (“Referring again to FIG. 3A, when the memory controller 420 executes read or

 write operations, each specific operation is targeted to a specific one of the ranks A, B, C, and D

 of a specific memory module 402. The data transmission circuit 416 on the specifically targeted

 one of the memory modules 402 functions as a bidirectional repeater/multiplexor, such that it

 drives the data signal when connecting from the system memory controller 420 to the memory

 devices 412. The other data transmission circuits 416 on the remaining memory modules 402 are

 disabled for the specific operation. . . . Thus, the memory controller 420, when there are four four-

 rank memory modules, sees four load-reducing switching circuit loads, instead of sixteen memory

 device loads. The reduced load on the memory controller 420 enhances the performance and

 reduces the power requirements of the memory system . . . .”). In certain embodiments, “the data

 transmission circuit 416 comprises or functions as a byte-wise buffer. In certain such

 embodiments, each of the one or more data transmission circuits 416 has the same bit width as

 does the associated memory devices 412 per rank to which the data transmission circuit 416 is

 operatively coupled.” Id. at 13:31-36.

 The ’918 Patent

        32.     The ’918 Patent is entitled “Flash-DRAM Hybrid Memory Module.” Netlist owns

 the ’918 Patent by assignment from the listed inventors Chi-She Chen, Jeffrey C. Solomon, Scott

 H. Milton, and Jayesh Bhakta. The ’918 Patent was filed as Application No. 17/138,766 on

 December 30, 2020, issued as a patent on May 25, 2021, and claims priority to, among others, U.S.

 Application No. 13,559,476 filed on July 26, 2012; U.S. Application No. 12/240,916 filed on

 September 29, 2008; U.S. Application No. 12/131,873 filed on June 2, 2008; as well as to two

 provisional applications, filed on June 1, 2007 (No. 60/941,586) and July 28, 2011 (No.

 61/512,871).



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        33.     Micron has had actual knowledge of the ’918 Patent since at least the filing of this

 Complaint.

        34.     As summarized in the Abstract, the ’918 Patent discloses a memory module that

 includes a printed circuit board with an interface that couples it to a host system for provision of

 power, data, address and control signals, and additionally features “[f]irst, second, and third buck

 converters [that] receive a pre-regulated input voltage and produce first, second and third regulated

 voltages. A converter circuit reduces the pre-regulated input voltage to provide a fourth regulated

 voltage. Synchronous dynamic random access memory (SDRAM) devices are coupled to one or

 more regulated voltages of the first, second, third and fourth regulated voltages, and a voltage

 monitor circuit monitors an input voltage and produces a signal in response to the input voltage

 having a voltage amplitude that is greater than a threshold voltage.” Ex. 3, Abstract.

        35.     The ’918 Patent discloses, inter alia, a power module that provides power to various

 components of the memory system as depicted in Figure 16, shown below.




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        36.     The ’918 Patent explains that “[t]he power module 1100 provides a plurality of

 voltages to the memory system 1010 comprising non-volatile and volatile memory subsystems

 1030, 1040. The plurality of voltages comprises at least a first voltage 1102 and a second voltage

 1104. The power module 1100 comprises an input 1106 providing a third voltage 1108 to the

 power module 1100 and a voltage conversion element 1120 configured to provide the second

 voltage 1104 to the memory system 1010. The power module 1100 further comprises a first power

 element 1130 configured to selectively provide a fourth voltage 1110 to the conversion element

 1120. In certain embodiments, the first power element 1130 comprises a pulse-width modulation

 power controller.” Id. at 28:3-15. “The conversion element 1120 can comprise one or more buck

 converters and/or one or more buck-boost converters.” Id. at 29:18-19.

        37.     The ’918 Patent also provides for voltage monitor circuit that, in response to

 detected over-voltage or under-voltage conditions, produces a trigger signal, which may in turn

 cause a logic element to write information into a non-volatile memory that is configured to store

 configuration information. See, e.g., id. at 38:61-39:5, 39:23-36. As explained in the ’918 Patent,

 in certain embodiments, “the non-volatile memory subsystem 1040 may backup the volatile

 memory subsystem 1030 in the event of a trigger condition, such as, for example, a power failure

 or power reduction or a request from the host system,” or where “the memory system 1010 detects

 that the system voltage is below [or above] a certain threshold voltage,” e.g. ten percent below or

 above a specified operating voltage. See, e.g., id. at 24:9-32, 39:6-8, 39:19-22.

        38.     This design represents a fundamental and innovative departure from prior

 generations of DDR modules for which the voltage regulation was provided by power management

 units located on motherboards, external to the DDR modules. In contrast, the ’918 Patent (as well

 as its continuation, the ’054 Patent, discussed below), moves the voltage regulation and many other




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 power management functions into the DDR modules themselves, therefore allowing for more

 precise and accurate regulation of voltages and more efficient power management.

        39.     The inventions of the ’918 Patent provide for the effective operation of DDR5

 memory modules, by enabling, among other benefits, greater power efficiency than previous

 generations of DDR technology. The DDR5 standard is characterized by the use of an on-module

 power management system.

 The ’054 Patent

        40.     The ’054 Patent is entitled “Flash-DRAM Hybrid Memory Module.” Netlist owns

 the ’054 Patent by assignment from the listed inventors Chi-She Chen, Jeffrey C. Solomon, Scott

 H. Milton, and Jayesh Bhakta. The ’054 Patent was filed as Application No. 17/328,019 on May

 24, 2021, issued as a patent on January 25, 2022, and claims priority to, among others, U.S.

 Application No. 13,559,476 filed on July 26, 2012; U.S. Application No. 12/240,916 filed on

 September 29, 2008; U.S. Application No. 12/131,873 filed on June 2, 2008; as well as to two

 provisional applications, filed on June 1, 2007 (No. 60/941,586) and July 28, 2011 (No.

 61/512,871).

        41.     Defendants have had actual knowledge of the ’054 Patent since at least the filing of

 this Complaint.

        42.     As summarized in the Abstract, the ’054 Patent discloses a memory module that

 includes a printed circuit board with an interface that couples it to a host system for provision of

 power, data, address and control signals, and additionally features “[f]irst, second, and third buck

 converters [that] receive a pre-regulated input voltage and produce first, second and third regulated

 voltages. A converter circuit reduces the pre-regulated input voltage to provide a fourth regulated

 voltage. Synchronous dynamic random access memory (SDRAM) devices are coupled to one or

 more regulated voltages of the first, second, third and fourth regulated voltages, and a voltage



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 monitor circuit monitors an input voltage and produces a signal in response to the input voltage

 having a voltage amplitude that is greater than a threshold voltage.” Ex. 4, Abstract.

        43.     The ’054 Patent discloses, inter alia, a power module that provides power to various

 components of the memory system as depicted in Figure 16, shown below.




        44.     Like the inventions of the ’918 Patent, the inventions of the ’054 Patent provide for

 the effective operation of DDR5 memory modules, by enabling, among other benefits, greater

 power efficiency than previous generations of DDR technology. See supra, ¶¶ 36-39.

 The ’060 and ’160 Patents

        45.     The ’060 Patent is entitled “Method and Apparatus for Optimizing Driver Load in

 a Memory Package.” Netlist owns the ’060 Patent by assignment from listed inventor Hyun Lee.

 The ’060 Patent was filed as Application No. 13/288,850 on November 3, 2011, issued as a patent

 on July 22, 2014, and claims priority to a provisional application filed on November 3, 2010 (No.

 61/409,893).




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        46.     The ’160 Patent is a continuation of the ‘060 patent and is entitled “Memory

 Package with Optimized Driver Load and Method of Operation.” Netlist owns the ’160 Patent by

 assignment from listed inventor Hyun Lee. The ’160 Patent was filed as Application No.

 14/337,168 on July 21, 2014, issued as a patent on April 19, 2016, and claims priority to, among

 others, a utility application filed on November 3, 2011 (No. 13/288,850, which issued as the ‘060

 patent) and a provisional application filed on November 3, 2010 (No. 61/409,893).

        47.     Defendants have had actual knowledge of the ’060 and ’160 Patents since at least

 the filing of this Complaint.

        48.     The ’060 and ’160 Patents disclose systems and methods for optimizing a load in a

 memory package featuring a control die, array dies, and numerous die interconnects. In contrast

 to traditional DDR modules in which different DRAM devices are packaged individually and then

 assembled on a common printed circuit boards, the inventions of the ’060 and ’160 Patents are

 directed to DDR packages each having multiple vertically stacked DRAM devices interconnected

 to a common control circuit, all packaged in the same package.

        49.     For example, as summarized in the Abstract, the memory package features at least

 two die interconnects, where “[t]he first die interconnect is in electrical communication with a data

 port of a first array die and a data port of a second array die and not in electrical communication

 with data ports of a third array die. The second die interconnect is in electrical communication

 with a data port of the third array die and not in electrical communication with data ports of the

 first array die and the second array die.” Ex. 5, Abstract; Ex. 6, Abstract. The memory package’s

 control die includes “a first data conduit configured to transmit a data signal to the first die

 interconnect and not to the second die interconnect, and at least a second data conduit configured

 to transmit the data signal to the second die interconnect and not to the first die interconnect.” Id.




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        50.     The ’060 and ’160 Patents explain that in conventional memory packages, the die

 interconnects are in communication with each of the array dies, which disadvantageously increases

 the load on the data conduit. Ex. 5, at 11:32-40. To address this problem, the ’060 and ’160

 Patents disclose memory packages with multiple die interconnects in electrical communication

 with some, but not all of the array dies, as illustrated below. Id. at 5:46-6:36.




        51.     As the ’060 and ’160 Patents explain, in the disclosed memory packages “[e]ach of

 these die interconnects 320 may be coupled to, or in electrical communication with at least one

 port of at least one of the array dies 310. As with the memory package 200, in certain embodiments,

 at least one of the die interconnects 320 is in electrical communication with at least one port from

 each of at least two array dies 310 without being in electrical communication with a port from at

 least one array die 310, which may be in electrical communication with a different die interconnect

 320. Id. at 5:54-62 (emphasis added). This enables the memory packages to be designed with

 smaller form factor in mind, and lowers power consumption. See id. at 7:22-8:62.


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                                  Micron’s Infringing Activities

        52.     Defendants are worldwide semiconductor solution providers that primarily

 manufacture semiconductor memory products such as DRAM, DIMMs, and MCP (Multi-Chip

 Package), such as HBM. Defendants develop, manufacture, sell, offer to sell, import into the

 United States and export from the United States memory components and memory modules

 (including semi-finished ones) designed for, among other things, use in servers such as those

 supporting cloud-based computing and other data-intensive applications as well as for use in

 consumer end products.

        53.     Netlist contacted Micron by letter dated April 28, 2021 requesting that it take a

 license; Micron has declined to take a license.

 DDR4 Memory Modules

        54.     The accused DDR4 products include, without limitation, any Micron DDR4

 LRDIMM products made in, sold in, offered for sale in, used in, exported from and/or imported

 into the United States by Micron. By way of non-limiting example, the accused DDR4 LRDIMM

 products include Micron products advertised on Micron’s website. See Micron Technologies,

 DRAM Modules, available at https://www.micron.com/products/dram-modules. By way of non-

 limiting example, the accused DDR4 LRDIMM products include, without limitation, those with

 the following part numbers: MTA144ASQ16G72LSZ-2S6, MTA144ASQ16G72LSZ-2S9,

 MTA36ASF4G72LZ-2G6,                 MTA36ASF8G72LZ-2G9,              MTA36ASF8G72LZ-3G2,

 MTA72ASS16G72LZ-3G2, MTA72ASS8G72LZ-2G6, and MTA72ASS8G72LZ-2G9.                            The

 accused DDR4 LRDIMM products include all branded, alternatively branded and non-branded

 products by Micron.




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 DDR5 Memory Modules

          55.   The accused DDR5 products include, without limitation, any Micron DDR5

 products made in, sold in, offered for sale in, used in, exported from and/or imported into the

 United States by Micron. By way of non-limiting example, the accused DDR5 products include

 Micron products advertised on Micron’s website. See Micron Technologies, DRAM Modules,

 available at https://www.micron.com/products/dram-modules. By way of non-limiting example,

 the accused DDR5 products include memory modules such as Micron’s DDR5 UDIMMs,

 including, without limitation, those with the following part numbers: MTC16C2085S1UC48B,

 MTC4C10163S1UC48B, and MTC8C1084S1UC48B. On information and belief, Micron makes,

 sells, offers for sale, uses, exports from and/or imports into the United States DDR5 RDIMMs,

 LRDIMMs, UDIMMs and SODIMMs.               The accused DDR5 products include all branded,

 alternatively branded and non-branded products by Micron.

          56.   As further example, the Accused Instrumentalities include, without limitation, any

 DDR5 products made, sold, offered for sale, used and/or imported into the United States by

 Defendants, including those modules utilizing power management integrated circuits (“PMICs”)

 supplied by third parties. See Ex. 13 (Micron DDR5 SDRAM UDIMM Part Catalog), and figure

 below.




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 Id. at 13 (schematic diagram of PMIC on Micron’s DDR5 DIMMs).

        57.    By way of non-limiting example, the accused DDR5 products also include products

 publicized in a June 2, 2021 report on Micron’s Technology Enablement Program. Ex. 14 at 1-2

 (“Micron has showcased its DDR5 registered memory modules for servers and revealed that its

 DDR5 technology enablement program (TEP) has reached a milestone of 250 members from over

 100 companies. Micron are on track to ship DDR5 DRAM ICs and memory modules later this

 year when the appropriate platforms become available.”).




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 Id. at 1-2 (depictions of Micron’s DDR5 RDIMMs).

        58.     When comparing DDR5 with DDR4, a key feature that Micron highlights is

 “Voltage     Regulation   on   the   Module.”        See   Ex.   10   at   2   (available   from

 https://www.micron.com/products/dram-modules) (referencing White Paper “Micron DDR5:

 Client Module Features”).




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        59.     The new power delivery solution also helps free up additional edge pins for

 isolation enhancement, thereby improving signal integrity. See id. at 3.

 High Bandwidth Memory (“HBM”)

        60.     HBM is a type of high-speed computer memory technology that relies in part on

 vertically-stacked memory dies and differs from the DDR5 DIMM formats described in the

 paragraphs above. Micron is a major supplier of HBM.

        61.     An illustration of Micron HBM2E DRAM is as follows.




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 Ex. 9 (Micron Technical Brief “Integrating and Operating HBM2E Memory”) at 1.

        62.      HBM is part of Micron’s Ultra-Bandwidth Solution. According to Micron, “High-

 bandwidth memory (HBM) is the fastest DRAM on the planet, designed for applications that

 demand the maximum bandwidth between memory and processing.” Id. Micron boasts that “[b]y

 tightly integrating through-silicon-via (TSV) stacked memory die with host application-specific

 integrated circuit (ASIC) . . ., in the same chip package, Micron delivers the best bandwidth

 possible,” and that “[Micron’s] HBM2E device provides top energy efficiency and high capacity

 in a very small footprint.” Id.

        63.      In the accused HBM products, at least eight DRAM memory dies are vertically

 connected in a single stacked device. The stack is then interconnected to an additional logic or

 base die which interfaces with the host ASIC. On information and belief, the DRAM dies and the

 logic die are shipped as a stack and Micron’s customers then have them integrated with the ASIC

 host as a system-in-package, as illustrated below. Id. at 2. The use of silicon interposers to

 interconnect DRAMs and the host enables the data bus to run much wider than is possible with

 discrete DRAMs, therefore allowing the data to run at much lower per-pin data rate and at much

 reduced power requirement. Id. That is, HBM significantly increases the bandwidth while still

 maintaining power efficiency, which in turn simplifies designs. Id.




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 Id. at 2-3 (annotations in original).

         64.      The Accused HBM Products include, without limitation, any Micron HBM2E and

 newer products with 8 or more stacked DRAM dies made, sold, used, offered for sale, and/or

 imported into the United States by Micron. By way of non-limiting example, the Accused HBM

 Products      include   Micron   HBM2E   products    having   the   following   part   numbers:

 MT54A16G8080A00AC-28, and MT54A16G8080A00AC-32. The accused HBM Products also

 include ones created by Micron customers or their contractors who took raw DRAM or flash or




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 unfinished versions of the products and then created infringing products. The accused HBM

 Products include all branded, alternatively branded and non-branded products by Micron.

        65.     By way of non-limiting example, the Accused HBM products also include

 products marketed and publicized in a 2021 press release titled “HBM2E The Leader in High

 Bandwidth,” as shown below.




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 Ex. 7 (depictions of Micron’s HBM2E Product).

 IV.    FIRST CLAIM FOR RELIEF – ’506 PATENT

        66.     Netlist re-alleges and incorporates by reference the allegations of the preceding

 paragraphs of this Complaint as if fully set forth herein.

        67.     On information and belief, Micron directly infringed and is currently infringing at

 least one claim of the ’506 Patent by, among other things, making, using, selling, offering to sell,

 and/or importing within this District and elsewhere in the United States, without authority, the

 accused DDR4 LRDIMMs and other products with materially the same structures in relevant parts.

 For example, and as shown below, the accused DDR4 LRDIMMs and other products with

 materially the same structures in relevant parts infringe at least claim 1 of the ’506 Patent.

        68.     For example, to the extent the preamble is limiting, each of the accused DDR4

 LRDIMMs comprise a memory module operable in a computer system to communicate with a

 memory controller of the computer system via a memory bus including control and address (C/A)

 signal lines and a data bus. As an example, Micron’s website markets and contains datasheets for




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 the accused DDR4 LRDIMMs.           See Micron Technologies, DRAM Modules, available at

 https://www.micron.com/products/dram-modules. An example is depicted below.




 Ex. 16 at 1 (Micron DDR4 SDRAM LRDIMM Core specification).

        69.    The accused DDR4 LRDIMMs each include a registering clock driver (RCD) “[t]o

 reduce the electrical load on the host memory controller's command, address, and control bus.”

 Id. at 12. It communicates with a server’s memory controller via control and address signal lines

 in a memory bus as well as a data bus. For example:




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 Id. at 6-7.




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 See also, e.g., Ex. 15 (Micron MTA36ASF4G72LZ datasheet) at 9:




        70.    The accused DDR4 LRDIMMs further each comprise a module board having edge

 connections to be coupled to respective signal lines in the memory bus, as illustrated in the

 examples below.




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 Id. at 24 (depiction of a Micron DDR4 LRDIMM).

        71.    The accused DDR4 LRDIMMs further each comprise a module control device

 (e.g., a RCD) on the module board configurable to receive input C/A signals corresponding to a

 memory read operation via the C/A signal lines and to output registered C/A signals in response

 to the input C/A signals and to output module control signals, and memory devices (e.g., DDR4

 SDRAMs) arranged in multiple ranks on the module board and coupled to the module control

 device (e.g., RCD) via module C/A signal lines that conduct the registered C/A signals as

 illustrated in the examples above and below.




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 Id. at 9.

         72.   In each accused DDR4 LRDIMM, the registered C/A signals cause a selected rank

 of the multiple ranks to perform the memory read operation by outputting read data and read

 strobes associated with the memory read operation, and a first memory device in the selected rank



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 is configurable to output at least a first section of the read data and at least a first read strobe. For

 example, each accused DDR4 LRDIMM follows the timing sequence for a READ command

 shown below.




 Ex. 18 (JEDEC JESD82-32A Standard), at 14; see also, e.g., Ex. 15 (Micron MTA36ASF4G72LZ

 datasheet) at 9 (functional block diagram for a representative product, depicted above).

         73.     The accused DDR4 LRDIMMs further each include data buffers on the module

 board and coupled between the edge connections and the memory devices, wherein a respective

 data buffer of the data buffers is coupled to at least one respective memory device in each of the

 multiple ranks and is configurable to receive the module control signals from the module control

 device, as illustrated below. See, e.g., Ex. 15 (Micron MTA36ASF4G72LZ datasheet) at 9

 (depicting Micron’s DDR4 LRDIMMs including data buffers coupled between at least one

 respective memory device in each of the multiple ranks) (annotations in original).




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        74.     In each accused DDR4 LRDIMM, a first data buffer on the data buffers is coupled

 to the first memory device and is configurable to, in response to one or more of the module control

 signals: delay the first read strobe by a first predetermined amount to generate a first delayed read

 strobe; sample the first section of the read data using the first delayed read strobe; and transmit the



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 first section of the read data to a first section of the data bus; wherein the first predetermined

 amount is determined based at least on signals received by the first data buffer during one or more

 previous operations. For example, the strobes MDQS0_t and MDQS0_c are delayed by a variable

 delay circuitry and produce a first delayed read strobe in response to one or more module control

 signals (e.g., BCOM[3:0]). The data buffer determines the predetermined amount of delay based

 on, for example, BCW signals received from the memory controller of the host in one or more

 previous operations, which signals in turn are in response to information sent by the memory

 module as part of MRD training.




 Ex. 15 (Micron MTA36ASF4G72LZ datasheet) at 9 (annotated).

        75.     On information and belief, Micron also indirectly infringes the ’506 Patent, as

 provided in 35 U.S.C. § 271(b), by inducing infringement by others, such as Micron’s customers

 and end users, in this District and elsewhere in the United States. For example, on information

 and belief, Micron has induced, and currently induces, the infringement of the ’506 Patent through

 its affirmative acts of selling, offering to sell, distributing, and/or otherwise making available the

 accused DDR4 LRDIMM and other materially similar products that infringe the ’506 Patent. On

 information and belief, Micron provides specifications, datasheets, instruction manuals, and/or

 other materials that encourage and facilitate infringing use of the accused DDR4 LRDIMM


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 products and other materially similar products by users in a manner that it knows or should have

 known would result in infringement and with the intent of inducing infringement.

        76.     On information and belief, Micron also indirectly infringes the ’506 Patent, as

 provided in 35 U.S.C. § 271(c), contributing to direct infringement committed by others, such as

 customers and end users, in this District and elsewhere in the United States. For example, on

 information and belief, Micron has contributed to, and currently contributes to, Micron’s

 customers and end-users infringement of the ’506 Patent through its affirmative acts of selling and

 offering to sell, in this District and elsewhere in the United States, the accused DDR4 LRDIMM

 and other materially similar products that infringe the ’506 Patent. On information and belief, the

 accused DDR4 LRDIMM products and other materially similar products have no substantial

 noninfringing use, and constitute a material part of the patented invention. On information and

 belief, Micron is aware that the product or process that includes the accused DDR4 LRDIMM and

 other materially similar products would be covered by one or more claims of the ’506 Patents. On

 information and belief, the use of the product or process that includes the accused DDR4 LRDIMM

 and other materially similar products infringes at least one claim of the ’506 Patent.

        77.     Micron’s infringement of the ’506 Patent has damaged and will continue to damage

 Netlist. Micron has had actual notice of the ’506 Patent since at least April 28, 2021. Micron’s

 infringement of the ’506 Patent has been continuing and willful. Micron continues to commit acts

 of infringement despite a high likelihood that its actions constitute infringement, and Micron knew

 or should have known that its actions constituted an unjustifiably high risk of infringement.

 V.     SECOND CLAIM FOR RELIEF – ’339 PATENT

        78.     Netlist re-alleges and incorporates by reference the allegations of the preceding

 paragraphs of this Complaint as if fully set forth herein.




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           79.   On information and belief, Defendants directly infringed and are currently

 infringing at least one claim of the ’339 Patent by, among other things, making, using, selling,

 offering to sell, and/or importing within this District and elsewhere in the United States, without

 authority, the accused DDR4 LRDIMMs and other products with materially the same structures in

 relevant parts. For example and as shown below, the accused DDR4 LRDIMMs and other

 products with materially the same structures in relevant parts infringe at least claim 1 of the ’339

 Patent.

           80.   For example, to the extent the preamble is limiting, each of the accused DDR4

 LRDIMMs comprises a N-bit-wide memory module (e.g., 64-bit-wide) mountable in a memory

 socket of a computer system and configurable to communicate with a memory controller of the

 computer system via address and control signal lines and N-bit wide data signal lines, the N-bit

 wide data signal lines including a plurality of sets of data signal lines, each set of data signal lines

 is a byte wide. For instance, each LRDIMM includes a RCD “[t]o reduce the electrical load on

 the host memory controller's command, address, and control bus.” Ex. 16 (Micron DDR4 SDRAM

 LRDIMM Core specification) at 12. It communicates with a server’s memory controller via

 control and address signal lines in a memory bus as well as a data bus. For example:




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 Id. at 6-7.




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 See also, e.g., Ex. 15 (Micron MTA36ASF4G72LZ datasheet) at 9:




        81.    In the configuration above, there are 9 sets of byte-wide signal lines including 64-

 bit wide data signal lines (DQ0-DQ63) and 8-bit wide check bits signal lines (CB0-CB7). For

 example:




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 Id.

        82.     The accused DDR4 LRDIMMs each comprise a printed circuit board (PCB) having

 an edge connector comprising a plurality of electrical contacts which are positioned on an edge of




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 the PCB and configured to be releasably coupled to corresponding contacts of the memory socket.

 For example:




 Id. at 24 (depiction of a Micron DDR4 LRDIMM).

        83.     The accused DDR4 LRDIMMs each include double data rate dynamic random

 access memory (e.g., DDR4 DRAM) devices coupled to the PCB and arranged in multiple N-bit-

 wide ranks. As shown above, each DDR4 LRDIMM includes multiple ranks of memory devices.

        84.     The accused DDR4 LRDIMMs further comprise a module controller (e.g., RCD)

 coupled to the PCB and operatively coupled to the DDR DRAM devices. For example:




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 Id. at 9.

         85.    The module controller (e.g., RCD) is configurable to receive from the memory

 controller via the address and control signal lines input address and control signals for a memory

 write operation to write N-bit-wide write data from the memory controller into a first N-bit-wide

 rank of the multiple N-bit-wide ranks, and to output registered address and control signals in

 response to receiving the input address and control signals, wherein the registered address and

 control signals cause the first N-bit-wide rank to perform the memory write operation by receiving

 the N-bit-wide write data (e.g., by using a registered chip-select signal to select a target rank for



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 performing the memory write operation), wherein the module controller is further configurable to

 output module control signals (e.g., during a first clock cycle when BCOM [3:0] is 1000, the

 module control signals would correspond to a write WR command) in response to at least some of

 the input address and control signals. For example, a Write burst operation results in a burst of

 data and data strobes received by the DDR4 LRDIMM via the DQS/DQ pins of the memory bus,

 and to write the data via data buffers into a memory device as determined by input address and

 control signal (e.g., CS signal). See, e.g., Ex. 19 (JESD79-4C DDR4 SDRAM Standard), at 122

 (reproduced below); Ex. 15 (Micron MTA36ASF4G72LZ datasheet) at 9.




        86.     Further, as illustrated above and below, the accused DDR4 LRDIMMs also each

 comprise a plurality of byte-wise buffers coupled to the PCB and configured to receive the module

 control signals, wherein each respective byte-wise buffer of the plurality of byte-wise buffers has

 a first side configured to be operatively coupled to a respective set of data signal lines, a second

 side that is operatively coupled to at least one respective DDR DRAM device in each of the

 multiple N-bit-wide ranks via respective module data lines, and a byte-wise data path between the

 first side and the second side, wherein the each respective byte-wise buffer is disposed on the PCB


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 at a respective position corresponding to the respective set of the plurality of sets of data signal

 lines.

                                   Plurality of byte-wise buffers




                                                                                       Second side




                                                                                       First side




 Ex. 20 (JEDEC 21C Standard), at 4.20.27-17.

          87.   In each of the accused DDR4 LRDIMMs, the each respective byte-wise buffer

 further includes logic configurable to control the byte-wise data path in response to the module

 control signals and the byte-wise data path includes first tristate buffers, and the logic in response

 to the module control signals is configured to enable the first tristate buffers, e.g., via the MDQ_OE

 signal associated with a particular TX for a particular MDQ bit, to drive the respective byte-wise

 section of the N-bit wide write data to the respective module data lines during the first time period.

 For example:




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                                                                               Second side




                                                                                     First side


 Ex. 18 (JESD82-32A Standard), at 95 (showing an example of a byte-wise data path (upper nibble

 and lower nibble), highlighted in green, between the first side at DQ and the second side at MDQ).

        88.     In each of the accused DDR4 LRDIMMs, the byte-wise data path is enabled for a

 first time period in accordance with a latency parameter to actively drive a respective byte-wise

 section of the N-bit wide write data associated with the memory operation from the first side to

 the second side during the first time period. For example:




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 Id. at 13.




                       igure 56   t DM WR Latency Measurement
                                                c




 Id. at 165.


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 Id. at 169.

           89.   On information and belief, Micron also indirectly infringes the ’339 Patent, as

 provided in 35 U.S.C. § 271(b), by inducing infringement by others, such as Micron’s customers

 and end users, in this District and elsewhere in the United States. For example, on information

 and belief, Micron has induced, and currently induces, the infringement of the ’339 Patent through

 its affirmative acts of selling, offering to sell, distributing, and/or otherwise making available the

 accused DDR4 LRDIMM products and other materially similar products that infringe the ’339

 Patent.     On information and belief, Micron provides specifications, datasheets, instruction

 manuals, and/or other materials that encourage and facilitate infringing use of the accused DDR4

 LRDIMM products and other materially similar products by users in a manner that it knows or

 should have known would result in infringement and with the intent of inducing infringement.

           90.   On information and belief, Micron also indirectly infringes the ’339 Patent, as

 provided in 35 U.S.C. § 271(c), contributing to direct infringement committed by others, such as

 customers and end users, in this District and elsewhere in the United States. For example, on

 information and belief, Micron has contributed to, and currently contributes to, Micron’s

 customers and end-users infringement of the ’339 Patent through its affirmative acts of selling and


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 offering to sell, in this District and elsewhere in the United States, the accused DDR4 LRDIMM

 products and other materially similar products that infringe the ’339 Patent. On information and

 belief, the accused DDR4 LRDIMM and other materially similar products have no substantial

 noninfringing use, and constitute a material part of the patented invention. On information and

 belief, Micron is aware that the product or process that includes the accused DDR4 LRDIMM

 products and other materially similar products would be covered by one or more claims of the ’339

 Patent. On information and belief, the use of the product or process that includes the accused

 DDR4 LRDIMM products infringes at least one claim of the ’339 Patent.

        91.     Micron’s infringement of the ’339 Patent has damaged and will continue to damage

 Netlist. Micron has had actual notice of the ’339 Patent since at least April 28, 2021. Micron’s

 infringement of the ’339 Patent has been continuing and willful. Micron continues to commit acts

 of infringement despite a high likelihood that its actions constitute infringement, and Micron knew

 or should have known that its actions constituted an unjustifiably high risk of infringement.

 VI.    THIRD CLAIM FOR RELIEF – ’918 PATENT

        92.     Netlist re-alleges and incorporates by reference the allegations of the preceding

 paragraphs of this Complaint as if fully set forth herein.

        93.     On information and belief, Defendants directly infringed and are currently

 infringing at least one claim of the ’918 Patent by, among other things, making, using, selling,

 offering to sell, and/or importing within this District and elsewhere in the United States, without

 authority, the accused DDR5 LRDIMMs, DDR5 RDIMMs, DDR5 SODIMMs, DDR5 UDIMMs,

 and other products with materially the same structures in relevant parts. For example, and as

 shown below, the accused DDR5 memory modules and other products with materially the same

 structures in relevant parts infringe at least one claim of the ’918 Patent.




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        94.       For example, the accused DDR5 products comprise a memory module comprising:

 a printed circuit board (PCB) having an interface configured to fit into a corresponding slot

 connector of a host system, the interface including a plurality of edge connections configured to

 couple power, data, address and control signals between the memory module and the host system,

 as illustrated below.




              Printed circuit board




                                                        Plurality of edge connections



 Ex. 14 at 1 (annotated depiction of a Micron DDR5 RDIMM).




 Id. at 2 (depiction of a Micron DDR5 RDIMM).

        95.       The accused DDR5 products further comprise a first buck converter configured to

 provide a first regulated voltage having a first voltage amplitude; a second buck converter

 configured to provide a second regulated voltage having a second voltage amplitude; a third buck


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 converter configured to provide a third regulated voltage having a third voltage amplitude; and a

 converter circuit configured to provide a fourth regulated voltage having a fourth voltage

 amplitude. For example, Micron’s DDR5 memory modules feature an on-module PMIC that is

 new for DDR5. As shown below, the on-board PMIC receives a nominal 12V input supply

 V_BULK, as well as an alternative power supply VIN_Management. Ex. 8 (Micron® DDR5: Key

 Module Features) at 2. On information and belief, V_BULK is the power input to buck converters

 while VIN_Management supplies power to other components on the board. The output of the

 PMIC includes three voltages VDD, VDDQ, and VPP outputted by buck converts and a nominal

 1.0V output by a linear dropout regulator (LDO). On information and belief, VDD and VDDQ

 are nominally at 1.1V and VPP is nominally at 1.8V.           Cf., Ex. 10 at 2, Fig. 2 (listing

 aforementioned nominal voltage amplitudes for VDD, VDDQ, and VPP for Micron’s DDR5

 UDIMMs/SODIMMs).




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 See also, e.g., id. at 2 (“DDR5 modules introduce local voltage regulation on the module. The

 voltage regulation is achieved by a power management integrated circuit (PMIC). The PMIC

 provides the brains of a smart voltage regulation system for the DDR5 DIMM, enabling

 configurability of voltage ramps and levels as well as current monitoring. Power management has

 historically been done on the motherboard. The introduction of PMICs allows additional features

 like threshold protection, error injection capabilities, programmable power on sequence, and

 power management features. The presence of the PMIC on the module enables better power

 regulation and reduces complexity of the motherboard design by reducing the scope of DRAM

 power delivery (PDN) management.”).




 Ex. 8 (Micron® DDR5: Key Module Features) at 1 (depicting on-module PMIC).

        96.    The PMIC provides the required regulated voltages, in accordance with the latest

 DDR5 standards. For example:




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 Ex. 21 (JEDEC Power Management Specification for DDR5) (annotated), at 19-20.




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        97.     The accused DDR5 products further comprise a plurality of components coupled to

 the PCB, each component of the plurality of components coupled to one or more regulated voltages

 of the first, second, third and fourth regulated voltages, the plurality of components comprising: a

 plurality of synchronous dynamic random access memory (SDRAM) devices coupled to the first

 regulated voltage, and at least one circuit (e.g., RCD) coupled between a first portion of the

 plurality of edge connections and the plurality of SDRAM devices, as illustrated below.


                                    Plurality of DDR5 SDRAMs




                                                           DDR5 RCD




 Ex. 14 at 1 (annotated depiction of a Micron DDR5 RDIMM). See also, e.g., Ex. 8 (Micron®

 DDR5: Key Module Features) at 1 (depicting DDR5 RDIMM with a plurality of components

 including DDR5 SDRAMs and RCD):




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 Ex. 22 JEDEC 79-5 DDR5 SDRAM Standard), at 3.




 Id. at 6.




 Ex. 17 (JEDEC DDR5 RCD Standard, JESD 82-511), at 176.



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             98.    The at least one circuit (e.g., RCD) is operable to (i) receive a first plurality of

 address and control signals via the first portion of the plurality of edge connections, and (ii) output

 a second plurality of address and control signals to the plurality of SDRAM devices. For example:




 Id. at 5.

             99.    The at least one circuit is coupled to both the second regulated voltage and the

 fourth regulated voltage. For example, the RCD receives both VDDIO and VDD or VDDQ input,

 with the amplitude of VDDIO (e.g., 1.0V) being less than the amplitude of VDD (e.g., 1.1V) or

 VDDQ (e.g., 1.1V).

                                    Fourth regulated               Second regulated
                                    voltage VDDIO               voltage VDD or VDDQ




 Id. at 3.

             100.   Micron’s infringement of the ’918 Patent has damaged and will continue to damage

 Netlist. Micron has had actual notice of the ’918 Patent since at least the filing of this Complaint.

 VII.        FOURTH CLAIM FOR RELIEF – ’054 PATENT

             101.   Netlist re-alleges and incorporates by reference the allegations of the preceding

 paragraphs of this Complaint as if fully set forth herein.

             102.   On information and belief, Defendants directly infringed and are currently

 infringing at least one claim of the ’054 Patent by, among other things, making, using, selling,



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 offering to sell, and/or importing within this District and elsewhere in the United States, without

 authority, the accused DDR5 LRDIMMs, DDR5 RDIMMs, DDR5 SODIMMs, DDR5 UDIMMs,

 and other products with materially the same structures in relevant parts. For example, and as

 shown below, the accused DDR5 memory modules and other products with materially the same

 structures in relevant parts infringe at least one claim of the ’054 Patent.

        103.    For example, the accused DDR5 products comprise a memory module comprising

 a printed circuit board (PCB) having an interface configured to fit into a corresponding slot

 connector of a host system. See illustration below (reproduced from Ex. 10 at 1).




        104.    The accused DDR5 products further comprise a voltage conversion circuit coupled

 to the PCB and configured to provide a plurality of regulated voltages, wherein the voltage

 conversion circuit includes three buck converters each of which is configured to produce a

 regulated voltage of the plurality of regulated voltages. For example, Micron UDIMMs and

 SODIMMs include the following basic configuration for a PMIC (Ex. 10 at 2-3). VDD, VDDQ

 and VPP are regulated voltages produced by buck converters, SWA, SWB and SWC.




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 See also Ex. 13 at 13 (schematic diagram of PMIC on Micron’s DDR5 DIMMs):




        105.   The voltage conversion circuit, which includes the relevant parts of PMIC, e.g., the

 inductors, capacitors, and other necessary elements that comprise at least three buck converters,

 provides the at least three required regulated voltages. The regulated voltages include VDD,

 VDDQ, VPP, among others. On information and belief, the magnitude of these regulated voltages

 are programmable. See, e.g., Ex. 8 (Micron® DDR5: Key Module Features) at 2 (“The PMIC

 provides the brains of a smart voltage regulation system for the DDR5 DIMM, enabling

 configurability of voltage ramps and levels as well as current monitoring.”). For example, VDD

 and VDDQ can be programmed to have an amplitude of 1.1V. As another example, VPP can be

 a regulated voltage at 1.8V. DRAMs on the PCB are each coupled to the VDD, VDDQ and VPP

 regulated voltages.   The voltage conversion circuit can also have other voltage regulators,


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 including linear voltage dropout regulators. Outputs from these other voltage regulators include,

 e.g., a 1.8V output for powering components such as SPD, and a 1.0V output that may also be used

 to power SPD or where applicable, components such as a RCD that is present in RDIMMs and

 LRDIMMs. The observed voltages and behavior are consistent with the latest DDR5 standards,

 within error tolerance. See supra, ¶¶ 96-99. For example, the datasheet for Micron’s DDR5

 UDIMM products indicates that the PMIC provides the required voltage amplitudes listed above:




        106.    The accused DDR5 products further comprise a plurality of components (such as

 DRAM devices, thermal sensors, SPD and, where applicable, RCD and data buffers) coupled to

 the PCB, each component of which is coupled to at least one regulated voltage of the plurality of

 regulated voltages, including a plurality of SDRAM devices coupled to a first regulated voltage of

 the plurality of regulated voltages, such as VDD.

        107.    The accused DDR5 products further comprise a controller coupled to the PCB,

 which includes a voltage monitor circuit coupled to an input voltage, such as VIN_BULK or where

 applicable, VIN_MGMT, received from the host system via the interface. The controller and the




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 voltage monitoring circuit may be part of the PMIC. In response to the voltage monitor detecting

 an amplitude change in the input voltage (e.g., an over- or under-voltage condition on the input

 power pins), the memory module transitions from a first operable state (e.g., with all components

 operating normally) to a second operable state (e.g., with the PMIC, thermal sensors, and/or SPD

 still operating, but not necessarily all components operating). See e.g., Ex. 21 (JEDEC Power

 Management Specification for DDR5) at 2, 37, 40:




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        108.    Furthermore, in response to the detected over- or under- voltage, the controller is

 configured to perform operations such as a write operation that records predefined bit value(s) in

 a register. The register is a non-volatile memory because the information written to the register

 by the controller is retained even after power-off. See, e.g., id. at 105, 112:



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            109.   Micron’s infringement of the ’054 Patent has damaged and will continue to damage

 Netlist.




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 VIII. FIFTH CLAIM FOR RELIEF – ’060 PATENT

         110.    Netlist re-alleges and incorporates by reference the allegations of the preceding

 paragraphs of this Complaint as if fully set forth herein.

         111.    On information and belief, Defendants directly infringed and are currently

 infringing at least claim 20 of the ’060 Patent by, among other things, making, using, selling,

 offering to sell, and/or importing within this District and elsewhere in the United States, without

 authority, the Accused HBM Products, and other products with materially the same structure in

 relevant part. For example, and as shown below, the Accused HBM Products and other products

 with materially the same structure and operating mechanisms in relevant part infringe at least one

 claim of the ’060 Patent.

         112.    The Accused HBM Products each include a plurality of array dies arranged in a

 stack (e.g., 8 stacked DRAM dies). The plurality of array dies can be divided into at least two

 groups of array dies. The dies are interconnected via TSVs and associated bumps and bond pads.

 See, e.g., Ex. 9 (Micron Technical Brief “Integrating and Operating HBM2E Memory”) at 3

 (providing a cross-sectional illustration of a system-in-package with Micron HBM2E) (annotations

 in original):




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 See also, e.g., id. (providing an example of HBM2E channel organization for a 8-high product):




        113.    The Accused HBM Products also have at least two die interconnects. For example,

 some TSVs only electrically interconnect some of the DRAM dies (first group of array die(s),

 selected from the group of DRAM dies that Micron annotates each individually as a “Core Die”

 or “Memory Die”), while others may electrically bypass this first group of array dies and

 electrically connect with the active transceiver logic of at least one of the other DRAM dies (second

 group of array die(s)). For instance, some TSVs may only be in electrical communication with




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 dies 0 and 4 with channels F+H, but not with any of the other DRAM dies. Others may only be in

 electrical communication with dies 1 and 5 (or 2 and 6, or 3 and 7), but not any of the other dies.

        114.    The Accused HBM Products also include a control die (e.g., the bottom die in the

 image above, labeled by Micron as a “Interface (Base) Die”), with a plurality of input/output

 terminals, such as terminals for data and control/address signals via which the memory die stack

 communicates data and control/address signals with a CPU, GPU, FPGA, or other external dies.

 See, e.g., Ex. 9 (Micron Technical Brief “Integrating and Operating HBM2E Memory”) at 2 (“The

 HBM2E DRAM is soldered to a silicon interposer that routes all interface signals in very tiny

 traces to the host ASIC.”); see also Ex. 11 (Micron white paper titled “The Demand for High-

 Performance Memory”) at 2 (on information and belief, an 8-high product will have materially the

 same interconnect between the host and the HBM stack as the 4-high product illustrated below).




        115.    The control die also includes a first driver that drives data signal via the first die

 interconnects and a second driver that drives data signal via the second die interconnects. E.g., id.

 at 6 (“The HBM2E interfaces use regular pull/push drivers with programmable driver strength for

 signaling.”). See, e.g., Ex. 9 (Micron Technical Brief “Integrating and Operating HBM2E

 Memory”) at 3, 5 (annotations in original):




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        116.    The operation of the Accused HBM Products includes a step of receiving a data

 signal at a first terminal (e.g., a data terminal) of the input/output terminals and a step of receiving

 a control signal at second terminals (e.g., control/address terminals) of the input/output terminals.



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            117.   Chip select signals, which may be encoded in the received stack ID (“SID”) signals,

 each select an array die to which data signals are to be driven by the corresponding data driver via

 the corresponding die interconnects. The Accused HBM Products select one of the first driver and

 the second driver in accordance with the chip select signal(s) to drive the data signal to the selected

 array die via the corresponding first or second die interconnect.

            118.   Micron’s infringement of the ’060 Patent has damaged and will continue to damage

 Netlist.

 IX.        SIXTH CLAIM FOR RELIEF – ’160 PATENT

            119.   Netlist re-alleges and incorporates by reference the allegations of the preceding

 paragraphs of this Complaint as if fully set forth herein.

            120.   On information and belief, Defendants directly infringed and are currently

 infringing at least claim 1 of the ’160 Patent by, among other things, making, using, selling,

 offering to sell, and/or importing within this District and elsewhere in the United States, without

 authority, the Accused HBM Products, and other products with materially the same structure in

 relevant part. For example, and as shown below, the Accused HBM Products and other products

 with materially the same structure in relevant part infringe at least one claim of the ’160 Patent.

            121.   For example, the Accused HBM Products include terminals for data and terminals

 for control signals (e.g., command and address signals). See, e.g., Ex. 12 (Datasheet for Micron

 8GB/16GB HBM2E), Table 1 (“HBM2 Signal Descriptions”).

            122.   The Accused HBM Products also each include stacked array dies (e.g., 8 stacked

 DRAM dies) including at least two groups of array dies. The dies are interconnected via TSVs

 and associated bumps and bond pads. See Ex. 9 (Micron Technical Brief “Integrating and

 Operating HBM2E Memory”) at 3:




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 See also, e.g., id. (providing an example of HBM2E channel organization for a 8-high product):




        123.    The Accused HBM Products also have at least two interconnects, each in electrical

 communication with one group of array dies but not in communication with a second group of

 array dies. For example, first die interconnects are in electrical communication with a first group

 of array dies and not in electrical communication with a second group of at least one array die; and

 second die interconnects are in electrical communication with the second group of at least one

 array die and not in electrical communication with the first group of array dies. This may be

 achieved by electrically coupling certain TSVs with active transceiver logic for only a subset of



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 the dies. For example, some TSVs may only interconnect some of the DRAM dies (first group of

 array dies) and some may bypass this first group of DRAM dies and electrically connect with the

 active transceiver logic of at least some of the other DRAM dies (second group of array dies).

            124.   The Accused HBM Products also each include a control die (e.g., the bottom “Base

 Die” in the image above). The control die includes first data conduits between the first die

 interconnects and the data terminals, and second data conduits between the second die

 interconnects and the data terminals. The data conduit includes first drivers each having a first

 driver size and configured to drive a data signal from a corresponding data terminal to the first

 group of array dies; and the second data conduit include second drivers each having a second driver

 size and configured to drive a data signal from a corresponding data terminal to the second group

 of at least one array die. The second driver size is different from the first driver size, for example,

 to account for the different distances data signals have to travel to reach the respective array dies

 in the stack. E.g., Ex. 9 at 6 (“The HBM2E interfaces use regular pull/push drivers with

 programmable driver strength for signaling.”).

            125.   Micron’s infringement of the ’160 Patent has damaged and will continue to damage

 Netlist.

 X.         DEMAND FOR JURY TRIAL

            126.   Pursuant to Federal Rule of Civil Procedure 38(b), Netlist hereby demands a trial

 by jury on all issues triable to a jury.

 XI.        PRAYER FOR RELIEF

                   WHEREFORE, Netlist respectfully requests that this Court enter judgment in its

 favor ordering, finding, declaring, and/or awarding Netlist relief as follows:

            A.     that Micron infringes the Patents-in-Suit;




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        B.       all equitable relief the Court deems just and proper as a result of Micron’s

 infringement;

        C.       an award of damages resulting from Micron’s acts of infringement in accordance

 with 35 U.S.C. § 284;

        D.       enhanced damages pursuant to 35 U.S.C. § 284;

        E.       that Micron’s infringement of the ’506 and ’339 patents is willful;

        F.       that this is an exceptional case and awarding Netlist its reasonable attorneys’ fees

 pursuant to 35 U.S.C. § 285;

        G.       an accounting for acts of infringement and supplemental damages, without

 limitation, pre-judgment and post-judgment interest; and

        H.       such other equitable relief which may be requested and to which Netlist is entitled.




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 Dated: June 10, 2022                 Respectfully submitted,

                                      /s/ Draft


                                      Samuel F. Baxter
                                      Texas State Bar No. 01938000
                                      sbaxter@mckoolsmith.com
                                      Jennifer L. Truelove
                                      Texas State Bar No. 24012906
                                      jtruelove@mckoolsmith.com
                                      MCKOOL SMITH, P.C.
                                      104 East Houston Street Suite 300
                                      Marshall, TX 75670
                                      Telephone: (903) 923-9000
                                      Facsimile: (903) 923-9099

                                      Jason Sheasby (CA #205455)
                                      jsheasby@irell.com
                                      Annita Zhong (CA #266924)
                                      hzhong@irell.com
                                      IRELL & MANELLA LLP
                                      1800 Avenue of the Stars, Suite 900
                                      Los Angeles, CA 90067
                                      Tel. (310) 277-1010
                                      Fax (310) 203-7199


                                      Attorneys for Plaintiff Netlist, Inc.




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